                            UNITED STATES BANKRUPTCY COURT

                                SOUTHERN DISTRICT OF TEXAS

                                       HOUSTON DIVISION

In re                                                 Chapter 11


Refreshing USA, LLC,                                  Case No. 24-33919
                                1
                                                      (Jointly Administered)
                        Debtors .


ORDER GRANTING DEBTORS’ MOTION TO TRANSFER VENUE PURSUANT TO 28
  U.S.C. § 1412 AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 1014(A)


         Upon the Debtors’ Motion to Transfer Venue Pursuant to 28 U.S.C. § 1412 and Federal
                                                      2
Rule of Bankruptcy Procedure 1014(a) (“Motion”); and the Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court may enter a final order consistent

with Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

the Court having considered the statements of counsel, the declarations in support of this Motion,

the evidence presented at the hearing on the Motion, and any objections to the Motion; and it

appearing that the relief requested in the Motion is reasonable and in the best interests of Debtors’




1
 Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.
2
    Capitalized terms that are not defined in this order have the meaning ascribed in the Motion.

                                                  1

24-01863-FPC11          Doc 170-4     Filed 11/06/24      Entered 11/06/24 16:40:25        Pg 1 of 2
bankruptcy estates, their creditors, and other parties in interest; and after due deliberation and

sufficient cause appearing therefor;

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.      The Motion is GRANTED as further described below.

        2.      The above-captioned jointly administered cases are hereby transferred from this

Court to the United States Bankruptcy Court for the Eastern District of Washington.

        3.      The clerk of this Court shall transmit to the clerk of the United States Bankruptcy

Court for the Eastern District of Washington a certified copy of this order and all the pleadings

filed with this Court relating to these cases.

        4.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

        Houston, Texas

        Dated: __________________, 2024.




                                                 UNITED STATES BANKRUPTCY JUDGE
044904\00001\17721074v1




                                                  2

24-01863-FPC11            Doc 170-4    Filed 11/06/24    Entered 11/06/24 16:40:25          Pg 2 of 2
